          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION

                     CRIMINAL CASE NO. 1:10cr07-2


UNITED STATES OF AMERICA, )
                            )
                            )
             vs.            )                   ORDER
                            )
                            )
NICHOLAS CHASE JACKSON. )
                          )



     THIS MATTER is before the Court on the Government’s Motion to

Dismiss [Doc. 27].

     The Defendant has pled guilty to a bill of information in a separate

proceeding. As a result, the Government seeks to dismiss this bill of

indictment.

     IT IS, THEREFORE, ORDERED that the Government’s Motion to

Dismiss [Doc. 27] is hereby GRANTED and the bill of indictment is hereby

DISMISSED without prejudice.
                                     Signed: April 28, 2010




    Case 1:10-cr-00007-MR-DLH   Document 28     Filed 04/29/10   Page 1 of 1
